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               WHATSAPP INC. and FACEBOOK, INC.
          11

          12                                 UNITED STATES DISTRICT COURT

          13                             NORTHERN DISTRICT OF CALIFORNIA

          14

          15   WHATSAPP INC., a Delaware corporation,         Case No. 4:19-cv-07123-PJH
               and FACEBOOK, INC., a Delaware
          16   corporation,                                   DECLARATION OF TRAVIS LEBLANC IN
                                                              SUPPORT OF WHATSAPP’S MOTION TO
          17                                                  DISQUALIFY DEFENSE COUNSEL BASED
                               Plaintiffs,                    ON PRIOR REPRESENTATION IN A
          18                                                  SEALED MATTER
                     v.
          19                                                  Date:      May 20, 2020
               NSO GROUP TECHNOLOGIES LIMITED                 Time:      9:00 a.m.
          20   and Q CYBER TECHNOLOGIES LIMITED,              Courtroom: 3, 3rd Floor
                                                              Judge:     Hon. Phyllis J. Hamilton
          21                   Defendants.

          22

          23

          24                             REDACTED VERSION OF DOCUMENT

          25                                    SOUGHT TO BE SEALED

          26

          27

          28
  COO
                                                                              DECLARATION OF TRAVIS LEBLANC
ATTO RN
 SAN F
                                                         1.                       CASE NO. 4:19-CV-07123-PJH
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           1          I, Travis LeBlanc, declare:

           2          1.       I am a partner with the law firm of Cooley LLP and counsel for Plaintiffs WhatsApp

           3   Inc. and Facebook, Inc. in this matter. The information in this declaration is based on my personal

           4   knowledge of this matter and information I obtained following a reasonable investigation of the events

           5   described below. If called as a witness, I could competently testify to the truth of each statement.

           6          2.       On March 18, 2020, I contacted four attorneys at King & Spalding regarding

           7   WhatsApp’s concerns about King & Spalding’s representation of Defendants in this matter, and I

           8   expressed concern that King & Spalding had engaged in an improper representation. I also requested

           9   the return of all of WhatsApp’s files. A true and correct copy of that correspondence is attached hereto

          10   as Exhibit A.

          11          3.       On March 19, 2020, one of the recipients of my March 18 letter, Robert Thornton, King

          12   & Spalding’s General Counsel, called me and indicated the firm would need more time to investigate

          13   the conflicts issue. Mr. Thornton informed me that King & Spalding still possessed WhatsApp’s client

          14   files and that he was working to gather and review those files.

          15          4.       On March 23, 2020, Mr. Thornton and I spoke again regarding King & Spalding’s

          16   conflict. Mr. Thornton confirmed that Catherine O’Neil, Christopher Wray, Nicholas Oldham, and

          17   Paul Mezzina represented WhatsApp in a prior matter and that Mr. Mezzina remained at the firm as a

          18   partner. He again indicated he would need more time to investigate the matter and that he expected to

          19   get back to me by Friday, March 27.

          20          5.       On March 24, 2020, Mr. Thornton and I spoke again briefly by phone to clarify that

          21   Mr. Mezzina was not working on this current litigation. I emailed Mr. Thornton that same day,

          22   documenting our understanding that King & Spalding would make a decision on whether it would

          23   withdraw by Friday, March 27.

          24          6.       On Friday, March 27, 2020, Mr. Thornton and I spoke again by phone. In that

          25   conversation, Mr. Thornton indicated he remained in the process of investigating the prior

          26   representation and gathering WhatsApp’s client files. Mr. Thornton indicated that he needed more

          27   time to complete his investigation before the firm could provide a decision on whether it would

          28   voluntarily withdraw. As an alternative to withdrawing, Mr. Thornton also proposed establishing an
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           1   ethical wall preventing Mr. Mezzina from discussing the prior matter with individual counsel on this

           2   case and preventing counsel on this case from accessing WhatsApp’s files. It is my understanding

           3   that no such screening mechanisms had been implemented at the time King & Spalding took on

           4   representation of the Defendants, nor were any in place at the time of our call on March 27.

           5           7.     Later that same day, I called Mr. Thornton to reject the proposal for an ethical wall. In

           6   response, Mr. Thornton indicated that he would need to speak with King & Spalding’s management

           7   regarding how to handle the conflict issue. He informed me that he would get me a response as soon

           8   as he could, but he did not commit to a particular timeline.

           9           8.     On Monday, March 30, 2020, I emailed Mr. Thornton to inquire about the status of

          10   King & Spalding’s investigation. He responded that the King & Spalding attorneys handling the

          11   current litigation were conferring with Defendants and that he hoped to have an answer to me the next

          12   day.

          13           9.     On Tuesday, March 31, 2020, I spoke with Mr. Thornton by phone, and he informed

          14   me that King & Spalding did not intend to withdraw. Mr. Thornton also told me that King & Spalding

          15   was still in the process of working to return WhatsApp’s client files.

          16           10.    On April 1, 2020, I emailed Mr. Thornton to follow up on my request for the return of

          17   all hardcopy and electronic documents or case files that King & Spalding had concerning the firm’s

          18   prior representation of WhatsApp. I requested the return of these documents by the close of business

          19   on Friday, April 3.

          20           11.    That same day, my partner Michael Rhodes emailed Joe Akrotirianakis, a partner at

          21   King & Spalding and counsel of record for Defendants in this case, and stated that WhatsApp was still

          22   awaiting the return of all files relating to King & Spalding’s prior representation of WhatsApp.

          23           12.    On April 2, 2020, Mr. Thornton informed me by email that he had located some

          24   relevant electronic documents from King & Spalding’s prior representation of WhatsApp, that he

          25   needed more time to continue to locate documents, and that he would provide those documents to

          26   WhatsApp when he could get technical assistance to process and transmit the files.

          27           13.    As of the date of this declaration, King & Spalding has sent only one PDF to WhatsApp,

          28   and WhatsApp has otherwise yet to receive its client file from King & Spalding.
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                                                                                        DECLARATION OF TRAVIS LEBLANC
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